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                                 United States v. Ross Ulbricht
                                      S1 14 Cr. 68 (KBF)

                              Summary of the Case for Voir Dire

The Indictment in this case contains criminal charges against one defendant: ROSS WILLIAM
ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road.”

The Indictment charges the defendant in seven counts. All of the counts concern the defendant’s
alleged operation and management of a black-market Internet website known as “Silk Road,”
from 2011 to 2013. The Government alleges that the defendant deliberately designed and
administered Silk Road to enable users to buy and sell illicit drugs and other illegal goods and
services, including computer hacking tools and services and false identification documents, and
to do so anonymously and outside the reach of law enforcement.

Counts One through Four charge the defendant with various narcotics offenses, based on the
illegal drugs that were allegedly sold on Silk Road.

Count Five charges the defendant with conspiring to commit, or help others commit, computer
hacking, based on the alleged sale of computer-hacking tools and services on Silk Road.

Count Six charges the defendant with conspiring to traffic in false identification documents,
based on the alleged sale of fake IDs, fake passports, and other fraudulent identification
documents on Silk Road.

Finally, Count Seven charges the defendant with conspiring to commit money laundering, based
on the payment system used on Silk Road, which relied on Bitcoins, a form of digital currency.
The Government alleges that the defendant designed that payment system to facilitate the illegal
transactions conducted on Silk Road and to conceal the proceeds of those transactions from law
enforcement.

The defendant denies all of the charges in the Indictment.
